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IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES § CIVIL ACTION
CONSOLIDATED LITIGATION § NO. 05-4182 “Kk”(2)

§ JUDGE DUVAL

§ MAG. WILKINSON

§ 3
PERTAINS TO: LEVEE, MRGO, RESPONDER:
LEVEE: O’Dwyer 06-4389
Adams, Cathy 06-4065 NOT YET DESIGNATED:
Gordon 06-5163 Williams, E. 06-5471

MOTION AND ORDER TO ENROLL
ADDITIONAL COUNSEL ON BEHALF OF
EUSTIS ENGINEERING COMPANY, INC.

NOW INTO COURT comes Mr. Thomas F. Gardner and Gardner & Kewley, ABLC,
counsel for Eustis Engineering Company, Inc., and Mat M. Gray, II, Alanson T. Chenault, and
Fowler Rodriguez, and move the Court for an Order adding as additional counsel for Eustis

Engineering Company, Inc. Mat M. Gray, IH, Alanson T. Chenault, and Fowler Rodriguez.
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Respectfully Submitted, .

GARDNER & KEWLEY
A Professional Law Corporation

s/THOMAS F. GARDNER

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CERTIFICATE OF SERVICE

I do hereby certify that I have on this 17" day of January, 2007, served a copy of the
Motion and Order to Enroll Additional Counsel on Behalf of Eustis Engineering Company, Inc.,
on counsel for all parties to this proceeding, by e-filing, e-mail or United States Mail, postage
prepaid. ?

s/MAT M. GRAY, TI]
MAT M. GRAY, I

